                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE




 UNITED STATES OF AMERICA                                )
                                                         )
 v.                                                      )      No. 3:08-CR-175
                                                         )      (Phillips)
 CLARK ALAN ROBERTS and                                  )
 SEAN EDWARD HOWLEY                                      )



                              MEMORANDUM AND ORDER



               On December 21, 2009, the Honorable C. Clifford Shirley, United States

 Magistrate Judge, filed a 38-page Report and Recommendation (R&R) [Doc. 88] in which

 he recommended that defendant Howley’s motion to suppress statements and motion to

 suppress search [Docs. 19, 25] be denied, and that defendant Roberts’ motion to suppress

 [Doc. 39] be denied.



               This matter is presently before the court on defendants’ timely objections to

 the R&R [Docs. 89, 90]. As required by 28 U.S.C. § 636(b)(1), the court has now

 undertaken a de novo review of those portions of the R&R to which defendants object. For

 the reasons that follow, the court finds itself in agreement with Magistrate Judge Shirley’s

 thorough analysis of the legal issues arising from the suppression hearing conducted by

 him on November 12, 2009. Consequently, defendants’ objections will be overruled, the

 R&R will be accepted in whole, and the underlying motions to suppress will be denied.



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                                     I. Background

               The Superseding Indictment charges the defendants in eleven counts with

 violations of the Economic Espionage Act (EEA), 18 U.S.C. § 1832. Count One alleges the

 defendants conspired to commit theft of trade secrets, unauthorized photographing and

 transmitting of trade secrets, and receiving and possessing trade secrets. Count Two

 charges the defendants with theft and attempted theft of trade secrets. Count Three

 asserts that the defendants photographed and attempted to photograph trade secrets.

 Counts Four through Six allege that the defendants transmitted or attempted to transmit

 trade secrets.   Count Seven charges the defendants with possession or attempted

 possession of stolen trade secrets. Counts Eight through Ten allege that the defendants

 committed wire fraud, and Count Eleven alleges the defendants conspired to commit wire

 fraud.



               Defendants Roberts and Howley ask the court to suppress the evidence

 obtained in the September 25, 2007 search of Wyko Tire Technology, their place of

 employment. Defendant Roberts contends that the search warrant was not sufficiently

 particular because it did not expressly narrow the search of the computer information, and

 that the search of Wyko exceeded the scope of the search warrant.      Defendant Howley

 contends that a cellular telephone taken from him must be suppressed because the search

 warrant did not authorize the search of his person, and that his statement given to law

 enforcement on the day the search warrant was executed, was involuntary and the fruit of

 an illegal search.

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                           II. Defendant Howley’s Objections

              In the R&R, the magistrate judge found that defendant Howley agreed to be

 interviewed by the agents; the questioning was not prolonged; and there was no evidence

 that Howley believed he was under arrest.          The magistrate judge found that the

 circumstances of the interview were not coercive. According to the factual findings, about

 half-way through the interview, the agents told Howley they believed he was lying and

 informed him that lying to a federal investigator was a felony. Thereafter, Howley’s tone

 changed and he told the agents information relevant to their investigation. Near the end

 of the interview, the agents discussed the contents and location of Howley’s cellular

 telephone. The agents asked for the telephone and Howley produced it from his person

 and gave it to them without objection. The magistrate judge found that Howley voluntarily

 gave his cellular telephone to the agents.



              Defendant Howley avers that the magistrate judge erroneously used a

 “preponderance of the evidence” test in weighing the evidence, instead of the more

 stringent “clear and convincing” test required by the Supreme Court in Bumper v. North

 Carolina, 391 U.S. 543 (1968). Bumper dealt with acquiescence to the execution of an

 improperly-issued search warrant. In support of his contention that Bumper requires the

 evidence be viewed under the clear and convincing test, defendant relies on a case from

 the Tennessee Supreme Court, Earls v. State, 496 S.W.2d 464 (Tenn. 1973), which

 concluded that under Bumper, “the State must show by clear and convincing evidence” that

 consent was not based upon mere acquiescence to a search warrant. Id. at 467.

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               The Sixth Circuit has never interpreted Bumper to require the “clear and

 convincing” test, but instead used the “preponderance of the evidence” test to determine

 whether consent was voluntarily given. See United States v. Carter, 378 F.3d 584 (6th Cir.

 2004). Here, the agent testified that at no time was defendant told that the search warrant

 included his cellular telephone or that they wanted to seize the telephone under the

 authority of the warrant. The agent merely asked defendant for his telephone at the end

 of the interview, and defendant gave it to him. I find that the magistrate judge properly

 concluded, by a preponderance of the evidence, that the defendant’s action of removing

 the telephone from his person and handing it to the agent constituted an affirmative and

 voluntary, non-verbal consent to the agent’s request for his telephone. Defendant’s

 objection is OVERRULED.



               Defendant Howley next objects to the finding of the magistrate judge that his

 statement should not be suppressed because it was involuntary. He argues that he was

 not advised of his Miranda rights and he did not feel free to leave the interview. The

 magistrate judge found that the location of the interview, a vice president’s office at

 defendant’s place of employment, was neither hostile nor coercive; defendant’s movement

 was not restrained during the interview; the tenor of the interview was business-like and not

 intimidating; and the length of the interview (2 hours) was not oppressive. Considering the

 totality of the circumstances, I agree with the magistrate judge that defendant Howley was

 not in custody during the interview. Accordingly, Miranda warnings were not required, and

 defendant’s objection is OVERRULED.

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                             III. Defendant Roberts’ Objections

               On September 25, 2007, FBI agents executed a search warrant at the

 premises of defendants’ employer, Wyko Tire Technology. Among other things, the

 warrant authorized the seizure of computers and Wyko’s computer server. The defendants

 contended that their rights under the Fourth Amendment were violated by both the

 issuance and the execution of the search warrant authorizing the search of Wyko. The

 magistrate judge found that defendants have standing to challenge the search of Wyko,

 because defendants have a legitimate expectation of privacy in anything seized from their

 offices, in all of the files on their laptop computers, and in the files on the Wyko server that

 were password protected. However, the magistrate judge found that defendants could not

 be secure in the privacy of their email and other similarly situated files on the Wyko server,

 and therefore, lacked standing to challenge the forensic search of the server. The

 magistrate judge further found that the search warrant in this case provided probable cause

 for the seizure of both defendants’ laptop computers because the computers were being

 used to disseminate and store information regarding the alleged stolen trade secrets. The

 magistrate judge concluded that the agents properly seized defendants’ laptop computers

 and properly searched all the files contained therein and on the Wyko server.



               Defendant Roberts objects the magistrate judge’s finding that he “could not

 be secure in the privacy of [his] email and other similarly situated files on the server.” I find

 defendant’s objection without merit. The Sixth Circuit has determined that the sender of

 an email loses a legitimate expectation of privacy once the email reaches the recipient,

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 analogous to a letter-writer, whose “expectation of privacy ordinarily terminates upon

 delivery” of a letter. Guest v. Leis, 255 F.3d 325, 333 (6th Cir. 2001) (quoting United States

 v. King, 55 F.3d 1193, 1196 (6th Cir. 1995).         Accordingly, defendant’s objection is

 OVERRULED.



               Defendant next argues that the search warrant in this case was not

 sufficiently particular. Defendant asserts that a warrant authorizing a search of a computer

 must specify with particularity the specific documents and files to be seized because if

 agents are allowed to open and search every file on a computer, such unlimited access

 violates the Fourth Amendment’s prohibition against general warrants.



               Here, the search warrant, Attachment B, lists the items to be seized, including

 “computers, computer hardware, software, computer related documentation, [and]

 passwords which contain evidence related to violations of Title 18, United States Code,

 Sections 1832 and 2314. . . .” Paragraph 3 of Attachment B authorized the seizure of

 “photographs, blue prints, drawings, sketches, diagrams, designs of manufacturing

 equipment and manufacturing processes which contain trade secret information belong to

 Goodyear.” Paragraph 4 authorized the officers to seize “correspondence, including email”

 between certain named entities from January 2006 through the time of the execution of the

 search warrant, “which discuss or refer to trade secret information belonging to Goodyear.”

 Paragraph 5 authorized the seizure of correspondence, email and documents “related to

 travel by Wyko employees to Goodyear.” Paragraph 6 authorized the seizure of records

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 relating to contracts with the Haohua South Guilin Rubber Company. Paragraph 7

 authorized the agents to seize documents relating to “the export of trade secret information

 belonging to Goodyear . . . from any Wyko entity to a foreign country.” I concur with the

 magistrate judge’s conclusion that the search warrant is sufficiently particular to inform the

 executing agents of the items to be seized.          Accordingly, defendant’s objection is

 OVERRULED.



               Last, defendant Roberts’ argues that the execution of the search warrant

 exceeded its scope. The magistrate judge found that when a search warrant permits the

 agents to search a computer, they may search all of the files in that computer for the items

 to be seized. In his analysis, the magistrate judge relied on a case from the Western

 District of Tennessee, United States v. Ogden, 2008 WL 4982756. In Ogden, District

 Judge S. Thomas Anderson, found:

               Searching agents have the authority to look in any place where
               the evidence sought may be found. The methods employed in
               executing search warrants are left the search agent’s discretion
               as long as the methods are reasonable. Contrary to
               defendant’s argument, [the executing officer] seized all of the
               computer equipment, not each individual file. This was proper
               because all of the computer equipment and storage devices
               were within the scope of the search warrant. [The executing
               officer] thus acted reasonably in executing the search warrant,
               and his examination of each file on defendant’s computers and
               storage media was reasonable and necessary.

 Id. at *3. I find District Judge Anderson’s analysis well-reasoned and applicable to the

 instant case. Therefore, I conclude that the magistrate judge correctly found that the



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 forensic analysis of the data on defendants’ computers and on Wyko’s service did not

 violated the Fourth Amendment, and defendant Roberts’ objection is OVERRULED.



                                    IV. Conclusion

              Defendant Howley’s motion to adopt the objections to the R&R filed by

 defendant Roberts [Doc. 93] is GRANTED.



              For the foregoing reasons, as well as the reasons articulated by Magistrate

 Judge Shirley in his R&R, defendants’ objections to the R&R [Docs. 89, 90] are hereby

 OVERRULED in their entirety whereby the R&R [Doc. 88] is ACCEPTED IN WHOLE.

 Accordingly, defendant Howley’s motion to suppress statements and motion to suppress

 search [Docs. 19, 25] as well as defendant Roberts’ motion to suppress [Doc. 39] are

 hereby DENIED.



                                         ENTER:

                                               s/ Thomas W. Phillips
                                             United States District Judge




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